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                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                              PANAMA CITY DIVISION

JOHN DOE 1, as parent and natural guardian
of PLAINTIFF C, his minor child; JOHN DOE 2,
as parent and natural guardian of PLAINTIFF D,
his minor child; JANE DOE 1, as parent and natural
guardian of PLAINTIFF B and PLAINTIFF M, her
minor children; JANE DOE 2, as parent and natural
guardian of PLAINTIFF J, her minor child;
JANE DOE 3, as parent and natural guardian of
PLAINTIFF S, her minor child; and PLAINTIFF L,

             Plaintiffs,

vs.                                           CASE NO. 5:03CV260/RS

JOSEPH R. FRANCIS; MRA HOLDING LLC,
a California limited liability company; MANTRA
FILMS, INC., an Oklahoma corporation
(d/b/a “Girls Gone Wild”); AERO FALCONS, LLC,
a Delaware limited liability company; MARK D.
SCHMITZ; and RYAN DAVID SIMKIN,

           Defendants.
___________________________________________/

                                       ORDER

      Before the court are the Motion of Hunton & Williams, LLP to Withdraw from

Representation of The Mantra Defendants (Document 156) and the Joint Motion for

Extension of Time for Rule 26(f) Conference (Document 171).

      IT IS ORDERED:

      1.     Hunton & Williams, LLP is granted leave to withdraw from further

             representation of defendants, Joseph R. Francis, MRA Holding, LLC,

             Mantra Films, Inc., and Aero Falcons, LLC.
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2.    Hunton & Williams, LLP shall remain subject to the court’s jurisdiction for

      resolution of the Order to Show Cause (Document 153) and Plaintiffs’

      Motion for Order to Show Cause Why Defense Counsel Should Not Be

      Subject to Sanctions Pursuant to 28 U.S.C. §1927 (Document 147).

3.    Hunton & Williams, LLP shall file not later than June 21, 2006, any

      additional grounds to show good cause why it should not be subject to

      sanctions pursuant to 28 U.S.C. §1927 for the reasons set forth in

      Document 147.

4.    Not later than June 21, 2006, defendants, Joseph R. Francis, MRA

      Holding, LLC, Mantra Films, Inc., and Aero Falcons, LLC. shall cause new

      counsel to file notice of appearance or shall file notice of their intent to

      proceed pro se.

5.    The Initial Scheduling Order (Document 145) is withdrawn. A revised

      scheduling order will be issued after June 21, 2006.

ORDERED on June 1, 2006.




                                   /S/ Richard Smoak
                                   RICHARD SMOAK
                                   UNITED STATES DISTRICT JUDGE
